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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND



     UNITED STATES OF AMERICA                       *
                                                    *


     V.                                             *            Grim. No.PJM10-164
                                                    *            Civil No. PJM 14-827
                                                    *
     GREGORY JAMES GRAVES,
                                                    *


                   Defendant.                       *



                                     MEMORANDUM OPINION


            Gregory Graves is serving a 360-month sentence for Hobbs Act robbery (Counts One &

     Four of the Indictment), Possession of a Firearm in Furtherance of a Crime of Violence (Count

     Two), and Possession of a Firearm After Felony Conviction (Count Three). Based on three prior
     convictions. Graves was deemed a career criminal under the Armed Career Criminal Act
     ("ACCA") and a career offender under U.S.S.G. § 4B1.1. Absent one of those convictions a
     1997 conviction for Use of a Handgun in Commission of a Felony Crime of Violence ("1997

     conviction")—Graves would not have qualified for the ACCA and § 4B1.1 enhancements. As it
     happens, one year after Graves's sentencing, the Maryland Court of Special Appeals vacated his
     1997 conviction. He now asks the Court to vacate his sentence and resentence him on all counts
     pursuant to 28 U.S.C. § 2255. For the following reasons, his Motion is GRANTED.
                                                    I.


            On April 12, 2010, Graves was charged in a four-count Indictment after robbing two 7-
     Eleven convenience stores while brandishing a gun and knife. See ECF No. 1. Despite making a

     confession to police at the time of his arrest. Graves decided to put the Government to its proof.
     Following a three-day jury trial, he was convicted on all four counts.
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